           Case 5:22-cr-00548-OLG Document 3 Filed 10/19/22 Page 1 of FILED
                                                                      4

                                                                                      October 19, 2022

                                                                                  CLERK, U.S. DISTRICT COURT
                             UNITED STATES DISTRICT COURT                         WESTERN DISTRICT OF TEXAS
                              WESTERN DISTRICT OF TEXAS                               By:        SAJ
                                 SAN Antonio
                                 San ANTONIO DIVISION                                                  Deputy

                                                                  Case No:          SA:22-CR-00548-OLG
 UNITED STATES OF AMERICA

         Plaintiff

                 v                              INDICTMENT

 LAWRENCE ERIC TAYLOR JR                        18 USC     §§ 2113(a) &    (d)Bank Robbery

         Defendant
                                                18 USC      § 1951(a)Hobbs Act Robbery



                                                18 USC     § 924(c)(1)(A)(ii)Brandishing a Firearm       During and in




                                                18 USC     § 924(l)Theft of a Firearm




THE GRAND JURY CHARGES:

                                          COUNT ONE
                                 [18 U.S.C. § 2113(a) & 2113(d)]

                                                                                Defendant,

                               LAWRENCE ERIC TAYLOR JR.,

by force, violence, and intimidation, did take from the person and presence of another

approximately $276,000 in money belonging to and in the care, custody, control, management,

and possession of JPMorgan Chase Bank, the deposits of which were then insured by the Federal

Deposit Insurance Corporation, and in committing such offense, did assault and put in jeopardy

the life of another person by the use of a dangerous weapon, that is, a firearm, in violation of Title

18, United States Code, Sections 2113(a) & (d).




                                                   1
          Case 5:22-cr-00548-OLG Document 3 Filed 10/19/22 Page 2 of 4




                                          COUNT TWO
                                       [18 U.S.C. § 1951(a)]

       That at all times material to this Indictment, JPMorgan Chase & Co was engaged in the

banking business, an industry that affects interstate and foreign commerce.

       That at all times material to this Indictment, Brink’s Incorporated was engaged in the bank

security services business, an industry that affects interstate and foreign commerce.

                                                                              Defendant,

                               LAWRENCE ERIC TAYLOR JR.,

did knowingly and unlawfully obstruct, delay, and affect commerce, and the movement of articles

and commodities in such commerce, as the terms “commerce” and “robbery” are defined in Title

18, United States Code, Section 1951, in that the defendant did unlawfully take and obtain the

property of JPMorgan Chase & Co, which was then in the possession and custody of an employee

of Brink’s Incorporated, namely, United States currency, by means of actual and threatened force,

violence, and fear of injury to those in lawful possession of the property, in violation of Title 18,

United States Code, Section 1951(a).

                                                  THREE
                                   [18 U.S.C. § 924(c)(1)(A)(ii)]

                                                                              Defendant,

                               LAWRENCE ERIC TAYLOR JR.,

did knowingly brandish a firearm during and in relation to a crime of violence that may be

prosecuted in a court of the United States, that is, Bank Robbery, in violation of Title 18, United

States Code, Sections 2113(a) & (d), as further described                                in
          Case 5:22-cr-00548-OLG Document 3 Filed 10/19/22 Page 3 of 4




                                          COUNT FOUR
                                        [18 U.S.C. § 924(l)]

                                                                               Defendant,

                               LAWRENCE ERIC TAYLOR JR.,

knowingly stole a firearm, that is, an FN, model FN509 full size, 9mm caliber pistol, serial number

BUS18984, which had moved in interstate commerce, in violation of Title 18, United States Code,

Section 924(l).

    NOTICE OF UNITED STATES OF AMERICA’S DEMAND FOR FORFEITURE
                        [See Fed. R. Crim. P. 32.2]

                                               I.
                       Bank Robbery Violations and Forfeiture Statutes
     [Title 18 U.S.C. § 2113(a) and (d) and Title 18 U.S.C. § 1951(a), subject to forfeiture
                     pursuant to Title 18 U.S.C. §§ 981(a)(1)(C) and 924,
              made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

       As a result of the foregoing criminal violations set forth in Counts One and Two, the United

States of America gives notice to Defendant of its intent to seek the forfeiture of certain property

upon conviction pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. §§ 981(a)(1)(C) and

924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c), which states:

       Title 18 U.S.C. § 981. Civil forfeiture
               (a) (1) The following property is subject to forfeiture to the United States:
                   (C) Any property, real or personal, which constitutes or is derived from
                   proceeds traceable to . . . any offense constituting “specified unlawful activity”
                   (as defined in section 1956(c)(7) of this title), or a conspiracy to commit such
                   offense.

Bank Robbery violation are offenses constituting “specified unlawful activity” as defined in Title
18 U.S.C. § 1956(c)(7).



       Title 18 U.S.C. § 924. Penalties
       (d)(l) Any firearm or ammunition involved in or used in . . . violation of any other
       criminal law of the United States. . . shall be subject to seizure and forfeiture . . .
       under the provisions of this chapter. . .




                                                  3
          Case 5:22-cr-00548-OLG Document 3 Filed 10/19/22 Page 4 of 4




                                                II.
                        Firearm Violations and Forfeiture Statutes
  [Title 18 U.S.C. §§ 924(c)(1)(A)(ii) and 924(l), subject to forfeiture pursuant to Title 18
  U.S.C. § 924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violations set forth in Counts Three and Four, the United States

of America gives notice to Defendant of its intent to seek the forfeiture of the property described

below upon conviction and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1),

made applicable to criminal forfeiture by Title 28 U.S.C. § 2461, which states:

       Title 18 U.S.C. § 924. Penalties
       (d)(l) Any firearm or ammunition involved in or used in any knowing violation of
       . . . of section 924 . . . shall be subject to seizure and forfeiture . . . under the
       provisions of this chapter. . .

This Notice of Demand for Forfeiture includes but is not limited to the following property:

           1. Taurus, model G3, 9x19 caliber pistol, serial number ADG435349; and
           2. Any and all firearms, ammunition, and/or accessories involved in or used in the
              commission of the criminal offenses.




       ASHLEY C. HOFF
       UNITED STATES ATTORNEY



BY:
       FOR BRIAN NOWINSKI
       Assistant United States Attorney




                                                4
